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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
  STATE OF CALIFORNIA;
  COMMONWEALTH OF
  MASSACHUSETTS; STATE OF NEW
  JERSEY; STATE OF COLORADO; STATE
  OF ILLINOIS; STATE OF MARYLAND;
  STATE OF NEW YORK; and STATE OF
  WISCONSIN,

                                                       Case No. 1:25-cv-10548
          Plaintiffs,
                        v.
  U.S. DEPARTMENT OF EDUCATION;
  DENISE CARTER, in her official capacity
  as former Acting Secretary of Education and
  current acting Chief Operating Officer,
  Federal Student Aid; LINDA MCMAHON,
  in her official capacity as Secretary of
  Education,

          Defendants.


                   [PROPOSED] TEMPORARY RESTRAINING ORDER

       This matter comes before the Court on Plaintiffs Massachusetts, California, New Jersey,

Colorado, Illinois, Maryland, New York, and Wisconsin (collectively, “Plaintiff States”) Motion

for a Temporary Restraining Order. Having reviewed Plaintiff States’ Complaint and

Memorandum of Law, all Declarations and evidence in support of the Motion, as well as any

papers filed in opposition to this motion, and in accordance with Federal Rule of Civil Procedure

65, and for good cause shown, the Court finds that Plaintiff States have satisfied the requirements

for the issuance of a temporary restraining order because: (1) Plaintiff States have established a

substantial likelihood of success on the merits; (2) Plaintiff States will be irreparably harmed

absent a temporary restraining order; and (3) the public interest and balance of the equities strongly

favor entry of a temporary restraining order.
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       It is therefore ORDERED that:

  i.   Defendants shall immediately restore Plaintiffs to the pre-existing status quo prior to the

       termination under all previously-awarded TQP or SEED grants for recipients in Plaintiff

       States;

 ii.   Defendants are temporarily and preliminarily enjoined from implementing, giving effect

       to, maintaining, or reinstating under a different name the termination of any previously-

       awarded TQP or SEED grants for recipients in Plaintiff States, including but not limited to

       through the Termination Letter, Termination GAN, and any other agency actions

       implementing such terminations, such as suspension or withholding of any funds approved

       and obligated for the grants;

iii.   Defendants are temporarily and preliminarily enjoined from terminating any individual

       TQP and SEED grant for recipients in Plaintiff States, except to the extent the final agency

       action is consistent with the Congressional authorization and appropriations, relevant

       federal statute, including the requirements of the APA, the requirements of the relevant

       implementing regulations, the grant terms and conditions, and this Court’s order;

iv.    Defendants shall file a status report with the Court within 24 hours of entry of a temporary

       restraining order confirming their compliance with the Court’s temporary restraining order;

       and

 v.    Defendants shall provide notice of the temporary restraining order within 24 hours of entry

       to all defendants, their employees and anyone acting in concert with them, and to all TQP

       and SEED grantees in Plaintiff States.

vi.    This Temporary Restraining Order shall become effective immediately upon entry by this

       Court. It shall remain in effect until further order of this Court.
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      SO ORDERED.

Dated: _____________
                                   ___________________________________
                                   Hon.
                                   United States District Judge
